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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

JOSEPH ELWELL, CRYSTAL                        )
ELWELL, DEBORAH BALDWIN,                      )
Individually and as custodian for her         )
Minor children WM and AM,                     )
ROBERT BALDWIN,                               )
                                              )       Case No. 2:16-CV-158
                Plaintiffs,                   )
                                              )
        v.                                    )
                                              )
FIRST BAPTIST CHURCH OF                       )
HAMMOND, INC.,                                )
                                              )
                Defendant.                    )


                               STIPULATION OF DISMISSAL

       NOW COMES Plaintiffs, JOSEPH ELWELL, CRYSTAL ELWELL, DEBORAH

BALDWIN, individually and on behalf of her minor children WM and AM, and ROBERT

BALDWIN, and Defendant, FIRST BAPTIST CHURCH OF HAMMOND, INC., by and

through their respective attorneys, and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), hereby submit this Stipulation of Dismissal to dismiss this action with prejudice.

       Respectfully submitted,

FIRST BAPTIST CHURCH,                             PLAINTIFFS,
HAMMOND, INDIANA, INC.,

By: /s/ Justin K. Curtis                          By: /s/ Jared Schneider
       One of its Attorneys                              One of their Attorneys
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Justin K. Curtis                                  Jared Schneider
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